

People v Johnson (2019 NY Slip Op 06622)





People v Johnson


2019 NY Slip Op 06622


Decided on September 18, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 18, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
LEONARD B. AUSTIN
SHERI S. ROMAN
JOSEPH J. MALTESE
LINDA CHRISTOPHER, JJ.


2018-06491
 (Ind. No. 9004/16)

[*1]The People of the State of New York, respondent,
vKenneth Johnson, appellant.


Janet E. Sabel, New York, NY (Ying-Ying Ma of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Thomas M. Ross of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Bruce M. Balter, J.), imposed January 24, 2018, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The sentence imposed was not excessive (see People v Suitte , 90 AD2d 80).
DILLON, J.P., AUSTIN, ROMAN, MALTESE and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








